              Case 1-16-42207-nhl        Doc 26     Filed 06/02/17     Entered 06/03/17 00:20:05

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                  Case No. 16-42207-nhl
Steven Pasciak                                                                          Chapter 7
Patricia Pasciak
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0207-1           User: mmendieta              Page 1 of 2                   Date Rcvd: May 31, 2017
                               Form ID: 318DF7              Total Noticed: 57


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 02, 2017.
db/jdb          Steven Pasciak,    Patricia Pasciak,    30 Mapleton Ave,     Staten Island, NY 10306-5848
smg             NYC Department of Finance,     345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,     Attn: Insolvency Unit,     Bldg. #12, Room 256,
                 Albany, NY 12240-0001
8804616         Allied Interstate LLC,    PO Box 1954,    Southgate, MI 48195-0954
8989585        +Bureaus Investment Group Portfolio No 15 LLC,      c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk VA 23541-1021
8989075         Citibank, N.A.,    c/o Quantum3 Group LLC,     PO Box 280,    Kirkland, WA 98083-0280
8804628         Citibank/Exxon Mobile,    Citicorp Credit Srvs/Centralized Bankrup,      PO Box 790040,
                 Saint Louis, MO 63179-0040
8804630         Digestive Disease Consultants,     PO Box 4365,    Metuchen, NJ 08840-4365
8981443        +Ditech Financial LLC,    f/k/a Green Tree Servicing LLC,
                 c/o Berkman, Henoch, Peterson, Peddy & F,      100 Garden City Plaza,
                 Garden City, New York 11530-3203
8804634       ++FORSTER & GARBUS LLP,    60 VANDERBILT MOTOR PARKWAY,      P O BOX 9030,   COMMACK NY 11725-9030
               (address filed with court: Forster & Garbus, LLP,       60 Vanderbilt Motor Pkwy,
                 Commack, NY 11725-5710)
8815711        +Ford Motor Credit Company LLC,     c/o Schiller Knapp Lefkowitz,     & Hertzel LLP,
                 950 New Loudon Road, Suite 109,     Latham, NY 12110-2100
8977786        +Hyundai Lease Titling Trust,     PO Box 20825,    Fountain Valley, CA 92728-0825
8804636         Intl Recovry,    195 Smithtown Blvd,    Nesconset, NY 11767-1869
8804637         Kia Motors Finance,    10550 Talbert Ave,    Fountain Valley, CA 92708-6031
8804638        +Lacy Katzen, LLP,    130 E Main St,    Rochester, NY 14604-1686
8804640         MED1 02 Amboy Medical Practice Pc,     195 Smithtown Blvd,     Nesconset, NY 11767-1869
8804641       ++NISSAN MOTOR ACCEPTANCE CORPORATION,     LOSS RECOVERY,     PO BOX 660366,   DALLAS TX 75266-0366
               (address filed with court: Nissan- Infiniti,       8900 Freeport Pkwy,    Irving, TX 75063-2409)
8804643         NYC Department of Finance,     Church Street Station,    PO Box 3600,    New York, NY 10008-3600
8804644         NYC Water Board,    PO Box 11863,    Newark, NJ 07101-8163
8804642         Nisssan- Infiniti lt,    8900 Freeport Pkwy,     Irving, TX 75063-2409
8804645         Prudential,    PO Box 7390,    Philadelphia, PA 19176-7390
8804647         Richmond Medical Anesthesia Assoc,     PO Box 120988,    Staten Island, NY 10312-0988
8804648         Rubin & Rothman,    1787 Veterans Hwy,    Islandia, NY 11749-1500
8804651         Target,   PO Box 30171,     Tampa, FL 33630-3171
8804652        +The Bureaus Inc,    650 Dundee Rd,    Northbrook, IL 60062-2757
8804653        +The Luthmann Law Firm PLLC,     1811 Victory Blvd,    Staten Island, NY 10314-3545

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 31 2017 18:41:41
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov May 31 2017 18:40:46
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,      New York, NY 10014-9449
8963436         EDI: BECKLEE.COM May 31 2017 18:33:00      American Express Centurion Bank,
                 c/o Becket and Lee LLP,   PO Box 3001,    Malvern PA 19355-0701
8804618         EDI: AMEREXPR.COM May 31 2017 18:34:00      Amex,    Correspondence,    PO Box 981540,
                 El Paso, TX 79998-1540
8804617         EDI: AMEREXPR.COM May 31 2017 18:34:00      Amex,    PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
8804620         EDI: BANKAMER.COM May 31 2017 18:34:00      Bk of Amer,    PO Box 982235,
                 El Paso, TX 79998-2235
8804619         EDI: BANKAMER.COM May 31 2017 18:34:00      Bank of America,    NC4-105-03-14,    PO Box 26012,
                 Greensboro, NC 27420-6012
8804623         EDI: CAPITALONE.COM May 31 2017 18:34:00      Capital One Bank USA N,     15000 Capital One Dr,
                 Richmond, VA 23238-1119
8804621         EDI: CAPITALONE.COM May 31 2017 18:34:00      Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
8804622         EDI: CAPITALONE.COM May 31 2017 18:34:00      Capital One Bank,     PO Box 71083,
                 Charlotte, NC 28272-1083
8957622         EDI: CAPITALONE.COM May 31 2017 18:34:00      Capital One Bank (USA), N.A.,     PO Box 71083,
                 Charlotte, NC 28272-1083
8804624         EDI: CHASE.COM May 31 2017 18:34:00      Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
8804625         EDI: CHASE.COM May 31 2017 18:34:00      Chase Card Services,    Attn: Correspondence Dept,
                 PO Box 15298,   Wilmington, DE 19850-5298
8804627         EDI: CITICORP.COM May 31 2017 18:34:00      Citi-Shell,    PO Box 6497,
                 Sioux Falls, SD 57117-6497
8804626         EDI: CITICORP.COM May 31 2017 18:34:00      Citi-citgo,    PO Box 6497,
                 Sioux Falls, SD 57117-6497
8804629         EDI: RCSFNBMARIN.COM May 31 2017 18:34:00      Credit One Bank N.A.,     PO Box 60500,
                 City of Industry, CA 91716-0500
                 Case 1-16-42207-nhl              Doc 26        Filed 06/02/17         Entered 06/03/17 00:20:05




District/off: 0207-1                  User: mmendieta                    Page 2 of 2                          Date Rcvd: May 31, 2017
                                      Form ID: 318DF7                    Total Noticed: 57


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
8945132         EDI: DISCOVER.COM May 31 2017 18:34:00      Discover Bank,    Discover Products Inc,
                 PO Box 3025,   New Albany, OH 43054-3025
8804631         EDI: DISCOVER.COM May 31 2017 18:34:00      Discover Fin Svcs LLC,     PO Box 15316,
                 Wilmington, DE 19850-5316
9002693         E-mail/Text: bankruptcy.bnc@ditech.com May 31 2017 18:40:43
                 Ditech Financial LLC fka Green Tree Servicing LLC,     P.O. Box 6154,
                 Rapid City, South Dakota 57709-6154
8804632         EDI: CITICORP.COM May 31 2017 18:34:00      Exxmblciti,    PO Box 6497,
                 Sioux Falls, SD 57117-6497
8946289         EDI: FORD.COM May 31 2017 18:33:00      Ford Motor Credit Company LLC,     P.O. BOX 62180,
                 COLORADO SPRINGS, CO 80962
8804633         EDI: FORD.COM May 31 2017 18:33:00      Ford Credit,    PO Box 220564,
                 Pittsburgh, PA 15257-2564
8804635         EDI: RMSC.COM May 31 2017 18:34:00      Green Tree Servicing L,    332 Minnesota St Ste 610,
                 Saint Paul, MN 55101-7707
8991363         EDI: RESURGENT.COM May 31 2017 18:34:00      LVNV Funding, LLC its successors and assigns as,
                 assignee of FNBM, LLC,    Resurgent Capital Services,    PO Box 10587,
                 Greenville, SC 29603-0587
8804639         EDI: RESURGENT.COM May 31 2017 18:34:00      Lvnv Funding LLC,    PO Box 10497,
                 Greenville, SC 29603-0497
9002615         EDI: PRA.COM May 31 2017 18:33:00      Portfolio Recovery Associates, LLC,     c/o Qvc,
                 POB 41067,   Norfolk VA 23541
8804646         EDI: RMSC.COM May 31 2017 18:34:00      QCARD/Synchrony Bank,    PO Box 530905,
                 Atlanta, GA 30353-0905
8995429         EDI: Q3G.COM May 31 2017 18:34:00      Quantum3 Group LLC as agent for,
                 JH Portfolio Debt Equities LLC,    PO Box 788,   Kirkland, WA 98083-0788
8804649         EDI: RMSC.COM May 31 2017 18:34:00      Syncb/Amer Eagle DC,    PO Box 965005,
                 Orlando, FL 32896-5005
8804650         EDI: RMSC.COM May 31 2017 18:34:00      Synchrony Bank/American Eagle,     Attn:Bankruptcy,
                 PO Box 103104,   Roswell, GA 30076-9104
8804654         EDI: URSI.COM May 31 2017 18:33:00      United Recovery Systems,    PO Box 722910,
                 Houston, TX 77272-2910
                                                                                               TOTAL: 31

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 02, 2017                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 31, 2017 at the address(es) listed below:
              Kevin B Zazzera    on behalf of Debtor Steven Pasciak kzazz007@yahoo.com
              Kevin B Zazzera    on behalf of Joint Debtor Patricia Pasciak kzazz007@yahoo.com
              Lori Lapin Jones    ljones@jonespllc.com, lljones@ecf.epiqsystems.com;N265@ecfcbis.com
              Lori Lapin Jones    on behalf of Trustee Lori Lapin Jones ljones@jonespllc.com,
               lljones@ecf.epiqsystems.com;N265@ecfcbis.com
              Martin A Mooney    on behalf of Creditor   Ford Motor Credit Company LLC as agent for CAB East,
               LLC ahight@schillerknapp.com, ahight@ecf.courtdrive.com
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
              Ronald D Howard    on behalf of Creditor   Ditech Financial LLC f/k/a Green Tree Servicing LLC
               r.howard@bhpp.com
                                                                                              TOTAL: 7
               Case 1-16-42207-nhl                    Doc 26   Filed 06/02/17     Entered 06/03/17 00:20:05


Information to identify the case:
Debtor 1              Steven Pasciak                                            Social Security number or ITIN   xxx−xx−3637
                      First Name   Middle Name    Last Name                     EIN _ _−_ _ _ _ _ _ _
Debtor 2              Patricia Pasciak                                          Social Security number or ITIN   xxx−xx−4547
(Spouse, if filing)
                      First Name   Middle Name    Last Name                     EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York
271−C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201−1800
Case number:          1−16−42207−nhl                                            Chapter:    7



Order of Discharge and Final Decree                                                                               Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Steven Pasciak                                               Patricia Pasciak




IT IS FURTHER ORDERED:

        • Lori Lapin Jones (Trustee) is discharged as trustee of the estate of the above−named debtor(s)
          and the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: May 31, 2017                                                  s/ Nancy Hershey Lord
                                                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




Official Form 318DF7                             Chapter 7 Order of Discharge and Final Decree               page 1
          Case 1-16-42207-nhl          Doc 26     Filed 06/02/17       Entered 06/03/17 00:20:05


                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

Official Form 318DF7             Chapter 7 Order of Discharge and Final Decree                 page 2
